 Case 18-43297-rfn7 Doc 11 Filed 09/25/18                       Entered 09/25/18 10:57:43               Page 1 of 4



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                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                         FORT WORTH DIVISION
 IN RE:                                                     §
                                                            §      CASE NO. 18-43297-RFN7
 AMERICO VELA                                               §      CHAPTER 7
 AKA ERIC VELA                                              §
       DEBTOR(S)                                            §      HEARING DATE: October 17, 2018
                                                            §
 NATIONSTAR MORTGAGE LLC D/B/A MR.                          §      HEARING TIME: 09:30 AM
 COOPER                                                     §
       MOVANT                                               §
 VS                                                         §
 AMERICO VELA
 AKA ERIC VELA
 AND MARILYN GARNER, TRUSTEE
       RESPONDENTS
           MOTION FOR RELIEF FROM AUTOMATIC STAY OF ACT AGAINST PROPERTY
                                   NOTICE
  PURSUANT TO LOCAL BANKRUPTCY RULE 4001-1(b), A RESPONSE IS REQUIRED TO THIS
  MOTION, OR THE ALLEGATIONS IN THE MOTION MAY BE DEEMED ADMITTED, AND AN
  ORDER GRANTING THE RELIEF SOUGHT MAY BE ENTERED BY DEFAULT.
  ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK OF THE UNITED
  STATES BANKRUPTCY COURT AT 501 WEST TENTH STREET, FORT WORTH, TEXAS, 76102-
  3643, BEFORE CLOSE OF BUSINESS ON OCTOBER 10, 2018, WHICH IS AT LEAST 14 DAYS FROM
  THE DATE OF SERVICE HEREOF. A COPY SHALL BE SERVED UPON COUNSEL FOR THE
  MOVING PARTY AND ANY TRUSTEE OR EXAMINER APPOINTED IN THE CASE. ANY
  RESPONSE SHALL INCLUDE A DETAILED AND COMPREHENSIVE STATEMENT AS TO HOW
  THE MOVANT CAN BE "ADEQUATELY PROTECTED" IF THE STAY IS TO BE CONTINUED.
TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

          Comes now Nationstar Mortgage LLC d/b/a Mr. Cooper (hereinafter referred to as "Movant"), its successors

and/or assigns, a secured creditor in the above-entitled and numbered case, by and through its attorneys, to file this its

Motion for Relief from Automatic Stay of Act against Property ("Motion") against: Americo Vela and Marilyn

Garner, duly appointed Chapter 7 Trustee, hereinafter referred to respectively as "Debtor(s)," and "Trustee." In support

thereof, Movant would respectfully represent to the Court as follows:




MOTION FOR RELIEF                                                                                 MFR_MtnDfltR00
                                                                                                     5957-N-1978
 Case 18-43297-rfn7 Doc 11 Filed 09/25/18                        Entered 09/25/18 10:57:43              Page 2 of 4



            1.    On August 27, 2018, Debtor(s) filed a voluntary petition under Chapter 7 of the Bankruptcy Code.

Subsequently, Marilyn Garner was appointed Trustee in this Chapter 7 case, qualified and is duly acting in such

capacity.

            2.    This Court has jurisdiction of this Motion by virtue of 11 USC §§105, 361 and 362, and 28 USC §§1334

and 157.

            3.    Movant is the holder of the following Note and Deed of Trust (the "Deed") of even date therewith

concerning the real property located at 4108 Longleaf lane, Fort Worth, TX 76137 (the "Property"). True and correct

copies of the Note and Deed are included with affidavit filed in support of the motion.

                 a.   Debtor(s) executed a promissory note secured by a mortgage or deed of trust. The Note was

                      subsequently transferred to Movant.

                 b.   Nationstar Mortgage LLC services the Note on the property. In the event the automatic stay is

                      modified, this case dismisses and/or the Debtor receives a discharge and a foreclosure action is

                      commenced on the property, the foreclosure will be conducted in the name of Movant.

                 c.   Movant, directly or through an agent, has possession of the Note and held the Note at the time of

                      filing the Motion. The Note has been duly endorsed.

                 d.   As of 09/06/2018, the unpaid principal balance was $102,412.37.
                      Debtor(s) are in default on 6 contractual payments totaling   $5,529.78:
                      04/01/2018 to 08/01/2018 (5) at $921.63 each = $4,608.15
                      09/01/2018 to 09/01/2018 (1) at $921.63 each = 921.63

                      The amount of current monthly mortgage installment payment is $921.63

            4.    By failing to make the regular monthly installment payments due pursuant to the Note, Debtor(s) have

not provided adequate protection to Movant. Consequently, Movant lacks adequate protection of its interest in the

Property. Movant therefore seeks relief from the automatic stay pursuant to 11 USC §362(d).

            5.    Movant has no remedy available to it other than to seek relief from the automatic stay.

            6.    Movant specifically requests permission from this Honorable Court to communicate with Debtor(s) and

Debtor(s)' counsel to the extent necessary to comply with applicable non-bankruptcy law.

            7.    Movant has had to retain counsel to represent it before this Court and is incurring legal expenses and

attorneys' fees for which it is entitled to reimbursement under the terms of its Note and Deed.

            8.    For the above and foregoing reasons, Movant asserts cause exists sufficient to waive the requirement




                                                                                                        5957-N-1978
 Case 18-43297-rfn7 Doc 11 Filed 09/25/18                      Entered 09/25/18 10:57:43              Page 3 of 4



of Bankruptcy Rule 4001(a)(3), therefore allowing Order to be effective upon this Honorable Court's signature.

          WHEREFORE, PREMISES CONSIDERED, Movant prays that, upon hearing of this Motion, said automatic

stay be terminated as to the claim of Movant, its successors and/or assigns, to seek its statutory and other available

remedies; that Movant, its successors and/or assigns, be permitted to obtain possession of the Property to the exclusion

of Debtor(s), alternatively, Movant, its successors and/or assigns, be afforded adequate protection by including, but

not limited to, having all payments presently due in this proceeding to Movant being brought current and Movant

being reimbursed for its reasonable attorneys' fees and expenses; and that Movant be granted such other and further

relief, at law and in equity, as is just.

                                                            Respectfully submitted,
                                                            Bonial & Associates, P.C.

                                                            /s/ Chandra D. Pryor
                                                            LynAlise K. Tannery / TXBN 24083941
                                                            Shelly K. Terrill / TXBN 00794788
                                                            Braden P. Barnes / TXBN 24059423
                                                            Chandra D. Pryor / CABN 320903
                                                            Attorneys and Counselors
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                                                            (972) 643-6698 (Telecopier)
                                                            E-mail: BkcyAttorneys@BonialPC.com
                                                            Attorney for Nationstar Mortgage LLC d/b/a Mr. Cooper


                                            CERTIFICATE OF CONFERENCE
        I hereby certify that counsel for Movant attempted to confer with counsel for Debtor(s) prior to filing this
motion and the issues raised herein are not yet resolved.
                                                            /s/ Chandra D. Pryor
                                                            LynAlise K. Tannery
                                                            Shelly K. Terrill
                                                            Braden P. Barnes
                                                            Chandra D. Pryor




                                                                                                      5957-N-1978
 Case 18-43297-rfn7 Doc 11 Filed 09/25/18                    Entered 09/25/18 10:57:43              Page 4 of 4



                                         CERTIFICATE OF SERVICE
          I hereby certify that a true and correct copy of the foregoing document has been served upon the following
parties in interest either via pre-paid regular U.S. Mail or via electronic notification on or before the 26th day of
September 2018:
Debtor's Attorney
Richard M. Weaver
Richard M. Weaver & Associates
5601 Airport Fwy
Fort Worth, Texas 76117-6004
Debtor
Americo Vela
301 Globe Ave
Blue Mound, Texas 76131-1110
U.S. Trustee
Office of the U.S Trustee
1100 Commerce Street, Room 976
Dallas, Texas 75242

Chapter 7 Trustee
Marilyn Garner
2007 E. Lamar Blvd., Suite 200
Arlington, Texas 76006

Synchrony Bank
c/o PRA Receivables Management, LLC
PO Box 41021
Norfolk, VA 23541

Attn: Capital One Auto Finance, a division of Capital One, N.A. Department
AIS Portfolio Services, LP
Account: XXXXXXXXX8667
4515 N Santa Fe Ave. Dept. APS
Oklahoma City, OK 73118



18-43297-RFN7                                             /s/ Chandra D. Pryor
                                                          LynAlise K. Tannery
                                                          Shelly K. Terrill
                                                          Braden P. Barnes
                                                          Chandra D. Pryor




MFR_CertOfServ                                                                                    5957-N-1978
